                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-2919
                       Lower Tribunal No. 2001031912
                      _____________________________

                          TIMOTHY BRYAN HANDLEY,

                                  Appellant,
                                       v.

          DEPARTMENT OF REVENUE and SHERRI LAFORSTE BANNISTER,

                                  Appellees.
                      _____________________________

                    Appeal from the Department of Revenue.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and WOZNIAK and BROWNLEE, JJ., concur.


Nicole Benjamin, of Benjamin Law Firm, P.A., Orlando, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Toni C. Bernstein, Senior
Assistant Attorney General, Tallahassee, for Appellee.

No Appearance for Appellee, Sherri LaForste Bannister.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
